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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                          UNITED STATES DISTRICT COl\1Rt~KU~C:'I'~
                                              SOUTHERN DISTRICT OF CALIFORNIA ~~UTH~~~:~~".~:,~~~Q~:~fv
                                                                                            I
               UNITED STATES OF AMERICA                            JUDGMENT IN A CRIMINAL CASE
                                     V.                            (For Offenses Committed On or After November 1, 1987)
                   GRIGOR CHATALY AN (1)
                                                                      Case Number:        14CR1646 MMA

                                                                   DONOVAN DUNNION
                                                                   Defendant's Attorney
REGISTRATION NO.                     47540298
o­
THE DEFENDANT:
 IZl    pleaded guilty to count(s)         ONE, TWO, SIX AND SEVEN OF THE SUPERSEDING INDICTMENT

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is a4iudged guilty ofsuch count(s), which involve the following offense(s):
                                                                                                                             Count
Title & Section                       Nature of Offense                                                                  Number(s)
18 USC 371                                CONSPIRACY                                                                              1

8 USC 1324(a)(2)(B)(ii)                   BRINGING IN ILLEGAL ALIENS FOR FINANCIAL GAIN                                       2,6,7




    The defendant is sentenced as provided in pages 2 through
                                                                    ------ of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
                   REMAINING COUNTS &
 IZl    Count(s)   UNDERLYING INDICTMENT                      is         dismissed on the motion of the United States.

 IZl    Assessment: $100.00 AS TO EACH COUNT ($400.00 TOTAL)



 I:8j   No fine                  0 Forfeiture pursuant to order filed                                            , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                                                                      14CR1646 MMA
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                                                             IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 THIRTY (30) MONTHS AS TO EACH COUNT TO RUN CONCURRENT




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI   The court makes the following recommendations to the Bureau of Prisons:
       COURT RECOMMENDS PLACEMENT AT A FACILITY CLOSE TO LOS ANGELES, CA.
       COURT ALSO RECOMMENDS PLACEMENT IN THE RESIDENTIAL DRUG ABUSE PROGRAM.




 o      The defendant is remanded to the custody of the United States Marshal.

 IZI    The defendant shall surrender to the United States Marshal for this district:
        IZI   at                 12:00                P.M.                     on 11/23/2015
        o     as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o     on or before
        o     as notified by the United States Marshal.
        o     as notified by the Probation or Pretrial Services Office.

                                                                      RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                    _________________________________________________________ ro ____________________________________________________________________

 at                                                 , with a certified copy of this judgment.


                                                                                   UNITED STATES MARSHAL



                                             By                             DEPUTY UNITED STATES MARSHAL


                                                                                                                                       14CR1646 MMA
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS AS TO EACH COUNT TO RUN CONCURRENT


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D
            substance abuse. (Check, if applicable.)
IZI         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
IZI
            Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted ofa qualifYing offense. (Check if applicable.)
o           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

             If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
        such fine or restitution that remains unpaid at the commencement of the term ofsupervised release in accordance with the Schedule of
        Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
       I)   the defendant shall not leave the jUdicial district without the permission of the court or probation officer;
       2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)   the defendant shall support his or her dependents and meet other family responsibilities;
       5)   the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
        6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
        7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
        8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted permission to do so by the probation officer;
        10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
            observed in plain view of the probation officer;
        11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the permission of
            the court; and
        13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
             with such notification requirement.



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                              SPECIAL CONDITIONS OF SUPERVISION


     1. Not enter or reside in the Republic of Mexico, or anywhere outside the U.S.,
        without permission of the court or probation officer.


     2. Report all vehicles owned or operated, or in which you have an interest, to the
        probation officer.


     3. Submit your person, property, residence, office or vehicle to a search, conducted by
        a United States Probation Officer at a reasonable time and in a reasonable manner,
        based upon reasonable suspicion of contraband or evidence of a violation of a
        condition of release; failure to submit to a search may be grounds for revocation;
        the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.


     4. Provide complete disclosure of personal and business financial records to the
        probation officer as requested.



     5. Be prohibited from opening checking accounts or incurring new credit charges or
        opening additional lines of credit without approval of the probation officer.


     6. Report monies received from income tax refunds, lottery winnings, inheritance,
        judgments, and any anticipated or unexpected financial gains to the probation
        officer.


II




                                                                                         14CR1646 MMA
